Case 1:19-cv-02066-MN              Document 184     Filed 03/21/23    Page 1 of 2 PageID #: 7132




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


  APEX CLEARING CORPORATION, AND
  APEX FINTECH SOLUTIONS, LLC

                             Plaintiffs and
                             Counter-Defendants,

                        v.                           C.A. No. 19-2066-MN

  AXOS FINANCIAL, INC. AND                           CONSOLIDATED
  AXOS CLEARING LLC,

                             Defendants and
                             Counterclaimants.


  AXOS BANK

                             Plaintiff,

                        v.                           C.A. NO. 20-18-MN

  APEX CLEARING CORPORATION,

                             Defendant.


                                JOINT STIPULATION OF DISMISSAL

          The parties, through their attorneys of record and pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(ii), hereby stipulate and agree that this entire consolidated action in C.A. Nos. 19-CV-

 02066-MN and No. 20-CV-0018-MN, including all claims, counterclaims, and affirmative

 defenses, is hereby dismissed with prejudice.

          Each party shall bear its own costs and attorneys’ fees.




 4870-3083-4514, v. 3
Case 1:19-cv-02066-MN        Document 184      Filed 03/21/23       Page 2 of 2 PageID #: 7133




 Dated: March 21, 2023


  YOUNG CONAWAY STARGATT &                        BUCHANAN INGERSOLL & ROONEY PC
  TAYLOR, LLP

   /s/ Robert M. Vrana
  __________________________________              _/s/ Geoffrey G. Grivner_______________
  Anne Shea Gaza (No. 4093)                       Geoffrey G. Grivner (DE Bar No. 4711)
  Robert M. Vrana (No. 5666)                      500 Delaware Avenue
  Rodney Square                                   Suite 720
  1000 North King Street                          Wilmington, DE 19801-7407
  Wilmington, DE 19801                            Telephone: (302) 552-4200
  (302) 571-6600                                  Facsimile: (302) 552-4295
  agaza@ycst.com                                  geoffrey.grivner@bipc.com
  rvrana@ycst.com

  Of Counsel:                                     Of Counsel:

  Patrick J. Arnold Jr.                           John M. Nading (admitted Pro Hac Vice)
  McANDREWS, HELD                                 David M. Kramer (admitted Pro Hac Vice)
  & MALLOY, LTD.                                  BUCHANAN INGERSOLL & ROONEY PC
  500 West Madison Street                         1700 K Street, N.W.
  Suite 3400                                      Suite 300
  Chicago, Illinois 60661                         Washington, D.C. 20006-3807
  (312) 775-8000                                  Telephone: 202-452-7900
  parnold@mcandrews-ip.com                        Facsimile: 202-452-7989
                                                  john.nading@bipc.com
                                                  david.kramer@bipc.com

  Attorneys for Apex Clearing Corporation         Attorneys for Axos Financial, Inc.,
  and Apex Fintech Solutions, LLC                 Axos Clearing LLC, and Axos Bank




 SO ORDERED this ___ day of _____________, 2023.


                                            _______________________________________
                                            THE HONORABLE MARYELLEN NOREIKA
                                            UNITED STATES DISTRICT JUDGE




                                              2
 4870-3083-4514, v. 3
